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1:04CR10-008(S) - DAVID DERN


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case # 1:04CR10-008(S)

DAVID DERN
                                                                USM # 20288-017

                                                                Defendant's Attorney:
                                                                Terry Silverman (Retained)
                                                                500 East University Avenue, Suite D
                                                                Gainesville, Florida 32601
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count 1 of the Superseding Indictment on October 7, 2004.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such count which involves
the following offense:

       TITLE/SECTION                           NATURE OF                 DATE OFFENSE
          NUMBER                                OFFENSE                   CONCLUDED               COUNT

  18 U.S.C. 1341 and 1349           Conspiracy to Commit Mail Fraud      October 31, 2003           1

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts 2-27 dismissed on a motion by the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.


                                                                Date of Imposition of Sentence:
                                                                April 26, 2005



                                                                s/ Stephan P. Mickle
                                                                STEPHAN P. MICKLE
                                                                UNITED STATES DISTRICT JUDGE

                                                                Date May 6, 2005
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twenty-seven (27) months.

The Court recommends to the Bureau of Prisons that the defendant be enrolled in a substance
abuse treatment program while incarcerated.

The Defendant shall surrender to the United States Marshal at Gainesville, Florida, or at a
designated institution, for service of sentence on or before May 26, 2005 by 12:00 Noon. Upon
return of the executed judgment, the bond is exonerated.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                              SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of five (5) years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.
1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;
12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
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          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant's criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant's compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of probation:

1.        the defendant shall report in person to the probation office in the district to which he is released within
          72 hours of release from the Bureau of Prisons.

2.        the defendant shall not own or possess a firearm, dangerous weapon or destructive device.

3.        the defendant shall remain gainfully employed or actively seek employment while under supervision.

4.        the defendant shall submit all financial documents as requested by the United States probation officer.

5.        the defendant shall not open additional lines of credit without the approval of the probation officer.

6.        the defendant shall pay monthly installments of $350.00 toward restitution, to commence no later than
          60 days after release from imprisonment.




       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.


          Defendant                                                              Date



          U.S. Probation Officer/Designated Witness                              Date




                                     CRIMINAL MONETARY PENALTIES
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         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons' Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                       Fine                      Restitution
                $100.00                                       NONE                       $251,791.98



                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed, and is due in full immediately.

                                                              FINE

                                                             NONE

                                                      RESTITUTION

Restitution is to be paid joint and several with co-defendants in the amount of $251,791.98.
(Interest is waived)

The defendant shall make restitution to the following victims in the amounts listed below:


                                                           Total Amount                   Amount of
           Name of Payee                                      of Loss                 Restitution Ordered

 Allegacy Federal Credit Union                                        $18,288.58                    $18,288.58

 Arcadia Financial, Ltd.                                              $17,936.46                    $17,936.46

 Bank of America                                                      $12,024.34                    $12,024.34

 Capital One Finance                                                  $34,489.53                    $34,489.53

 Campus USA Credit Union                                              $32,850.00                    $32,850.00

 Credit Union of Texas                                                $14,701.83                    $14,701.83
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                                                           Total Amount                  Amount of
           Name of Payee                                      of Loss                Restitution Ordered

 Household Auto Finance                                              $68,665.50                    $68,665.50

 Huntington National Bank                                            $20,037.16                    $20,037.16

 National Auto Finance
 D.B.A Nuvell Financial Services                                     $15,487.63                   $15,487.63

 Sunstate Federal Credit Union                                        $7,210.95                     $7,210.95

 SunTrust Bank                                                       $10,100.00                    $10,100.00


                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties,
in full immediately.
The defendant must notify the court of any material changes in the defendant's economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant's economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to the
commencement of supervision, the U.S. probation officer shall pursue collection of the amount due.
The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.
